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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: NATIONAL FOOTBALL LEAGUE
RETIRED PLAYERS’ CONCUSSION                                Case No. 2:12-md-02323-AB-MDL
INJURY LITIGATION
                                                           Hon. Anita B. Brody

Kevin Turner and Shawn Wooden,
on behalf of himself and others similarly
situated,

                                       Plaintiffs,         CIVIL ACTION NO. 14-cv-29-AB

            v.

National Football League and NFL
Properties, LLC, successor-in-interest to NFL
Properties, Inc.

                                     Defendants.

APPLIES TO ALL CASES



                 NOTICE OF WITHDRAWAL OF JOINDER IN LOCKS’ MOTION



            Lieff Cabraser Heimann & Bernstein, LLP, hereby withdraws its Joinder in the Motion

by the Locks Law Firm for Appointment of Administrative Class Counsel was filed on March 30,

2018 (ECF No. 9837).

            WHEREFORE, this Notice hereby withdraws the Notice of Joinder as filed in the docket

as referenced above.




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Dated: April 3, 2018             Respectfully Submitted,

                                 By:    /s/ Wendy R. Fleishman
                                        Wendy R. Fleishman

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                                     CERTIFICATE OF SERVICE

            It is hereby certified that a true copy of the foregoing document was served electronically

via the Court’s electronic filing system on the 3rd day of April, 2018, upon all counsel of record.



Dated: April 3, 2018                                      /s/ Wendy R. Fleishman
                                                          Wendy R. Fleishman




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